Case 1:23-cv-01346-JSR Document 33-3 Filed 05/12/23 Page 1 of 9




          EXHIBIT RR
Case 1:23-cv-01346-JSR Document 33-3 Filed 05/12/23 Page 2 of 9
Case 1:23-cv-01346-JSR Document 33-3 Filed 05/12/23 Page 3 of 9
Case 1:23-cv-01346-JSR Document 33-3 Filed 05/12/23 Page 4 of 9
Case 1:23-cv-01346-JSR Document 33-3 Filed 05/12/23 Page 5 of 9
Case 1:23-cv-01346-JSR Document 33-3 Filed 05/12/23 Page 6 of 9
Case 1:23-cv-01346-JSR Document 33-3 Filed 05/12/23 Page 7 of 9
Case 1:23-cv-01346-JSR Document 33-3 Filed 05/12/23 Page 8 of 9
Case 1:23-cv-01346-JSR Document 33-3 Filed 05/12/23 Page 9 of 9
